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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


                                               :

Mort Schneider,                                :

                 Plaintiff,                    :       Civil Case No.:

vs.                                            :

Penncro Associates, Inc.,                      :

                 Defendant.                    :

                                               :



                                    VERIFIED COMPLAINT

         Plaintiff, Mort Schneider (Plaintiff), through his attorneys, Krohn & Moss, LTD., alleges

the following against Defendant, Penncro Associates, Inc., (Defendant):

                                        INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. 1692 et seq. (FDCPA).
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                                        PARTIES

 2. Plaintiff is a natural person residing in Tom’s River, New Jersey and is a “consumer” as

    that term is defined by 15 U.S.C. 1692a(3).

 3. Defendant is a collection agency with a principal place of business located in South

    Hampton, Pennsylvania.

 4. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 5. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                              JURISDICTION AND VENUE

 6. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

    actions may be brought and heard before “any appropriate United States district court

    without regard to the amount in controversy.”

 7. Defendant conducts business in the state of New Jersey, and therefore, personal

    jurisdiction is established.

 8. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                               FACTUAL ALLEGATIONS

 9. Defendant constantly and continuously placed collection calls to Plaintiff seeking and

    demanding payment for an alleged debt.

 10. Defendant called from its phone number 866-430-5271 to Plaintiff’s home phone

    number 732-286-0913.




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 11. At or around 8:00 am, almost every morning, Plaintiff received a telephone call from

    Defendant regarding the alleged debt.

 12. Despite repeated requests for any information regarding the alleged debt, Defendant

    refuses to provide any and instead states it will just call back the next day.

 13. Defendant failed to send written verification of the alleged debt to Plaintiff despite

    repeated requests for same.

                                           COUNT I

  DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

 14. Defendant violated the FDCPA based on the following:

        a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress, or abuse Plaintiff in connection with

           the collection of a debt;

        b. Defendant violated §1692d(5) of the FDCPA by causing Plaintiff’s telephone to

           ring repeatedly and continuously with the intent to annoy, abuse, and harass

           Plaintiff; and

        c. Defendant violated §1692g(a)(1-5) by failing to provide appropriate notice of the

           debt within 5 days after the initial communication including: (1) the amount of

           the debt; (2) the name of the creditor to whom the debt is owed; (3) a statement

           that unless the consumer, within 30 days after receipt of the notice, disputes the

           validity of the debt, or any portion thereof, the debt will be assumed to be valid

           by the debt collector; (4) a statement that if the consumer notifies the debt

           collector in writing within the 30-day period that the debt, or any portion thereof,

           is disputed, the debt collector will obtain verification of the debt or a copy of a




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                 judgment against the consumer and a copy of such verification or judgment will

                 be mailed to the consumer by the debt collector; and (5) a statement that, upon

                 the consumer’s written request within the 30-day period, the debt collector will

                 provide the consumer with the name and address of the original creditor, if

                 different from the current creditor.

          Wherefore, Plaintiff, Mort Schneider, respectfully requests judgment be entered against

Defendant, Penncro Associates, Inc., for the following:
   15. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

          U.S.C. 1692k,

   16. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

          15 U.S.C. 1692k

   17. Any other relief that this Honorable Court deems appropriate.


                                   DEMAND FOR JURY TRIAL

          Please take notice that Plaintiff, Mort Schneider demands a jury trial in this cause of

action.


                    CERTIFICATION PURSUANT TO LOCAL RULE 11.2

          Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.

  DATED: September 21, 2011              The Law Offices of Jennifer M. Kurtz, LLC


                                         By:/s/_Jennifer M. Kurtz_____________

                                                 Jennifer M. Kurtz
                                                 Attorney for Plaintiff,
                                                 Mort Schneider




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